                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:07cr154

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
STEVEN GIACOBBE (4)                      )
________________________________________ )


       THIS MATTER is before the Court upon motion of Patricia Ortega (Doc. No. 330:

Motion) seeking the return of a cash bond.

       When defendant Steven Giacobbe was released on bond following his arrest in the

Southern District of New York, Ms. Ortega posted $5,000 as surety. (Doc. No. 32: Appearance

Bond). The defendant complied with the terms of his release while this matter was pending.

Accordingly, the Court finds that Ms. Ortega is entitled to receive the cash bond.

       IT IS, THEREFORE, ORDERED that the motion (Doc. No. 330) is GRANTED.



                                                 Signed: January 6, 2010




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